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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION



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HOOD RIVER VALLEY RESIDENTS
COMMITTEE, an Oregon non-profit
corporation; MIKE MCCARTHY,                                           Case No.: 3:15-cv-01397-BR
individually; HOOD RIVER COUNTY by
and through the Board of County
Commissioners of Hood River County, an                       STIPULATED ORDER STAYING
Oregon municipal corporation;                                    FURTHER PROCEEDINGS
CLACKAMAS COUNTY, by and through
the Board of County Commissioners of
Clackamas County, an Oregon municipal
corporation, and MT. HOOD MEADOWS
OREGON, LLC, an Oregon limited liability
corporation.

              Plaintiffs,

                            v.
JIM PENA, Regional Director of Region 6 of
the Forest Service; LISA NORTHROP,
Supervisor, Mt. Hood National Forest;
THOMAS L. TIDWELL, Chief, Forest
Service; & UNITED STATES FOREST
SERVICE, an Administrative Agency of the
U.S. Department of Agriculture,

              Defendants.

       The parties hereby stipulate to a stay of any and all further proceedings in the above-

captioned action, subject to the set of the following specific conditions:

       • The patties agree that this stipulated stay will remain in effect: (I) at least unless and

until any target completion date for a specific remaining milestone set forth in the schedule the

Forest Service filed with the Court on Feb. 12, 2016 (Dkt. #26-3), is missed, at which time any

party may move to lift the stay; or (2) until the land exchange at issue in the litigation is

completed. To facilitate transparency and oversight of the ongoing implementation of the Land

Exchange by the patties and the Court, the patties have agreed on two specific exceptions to the

stay of proceedings as specifically identified in the two items set forth immediately below.

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        • During the pendency of the stipulated stay, the parties agree to continue to file monthly

joint status reports on the progress that continues to be made to implement the Land Exchange by

the second Tuesday of each calendar month; toward this end, Defendants agree to continue to

provide a draft of each such report for Plaintiffs' counsel to review one week prior to the filing

deadline each month, and Plaintiffs' counsel agree to coordinate their feedback and/or proposed

edits and provide a single response to the circulated draft that represents the collective position

of all Plaintiffs on the draft that Defendants' counsel has circulated for review.

       • For at least as long as the stipulated stay remains in effect, the Forest Service agrees to

lodge a supplement to the administrative record underlying its implementation of those portions

of the Land Exchange for which it is responsible upon completion of each of the following

specific milestones in implementation of the Land Exchange, per the following time frame:

       >A supplement extending through the date of the closure of the public-comment period

on the Draft Environmental hnpact Statement on the Land Exchange the Forest Service recently

published and made available for public review, to be lodged within 60 days of that date.

       >A supplement extending through the date of the submission of the appraisal being

prepared in support of the Land Exchange by Maloy & Co. to the Forest Service Review

Appraiser, to be lodged within 45 days of that date. The Forest Service notes in this regard that,

per its guidance, the appraisal itself will not be included in this supplement, insofar as such

guidance provides that the appraisal cannot be provided even to agency officials working on the

Land Exchange on the Mt. Hood National Forest or MHMO, the other party to the exchange,

until after it has been reviewed and formally approved for Agency use by a Forest Service

Review Appraiser. Upon receiving such approval, the appraisal can then be internally released

to Forest Service officials and MHMO, but, per agency guidance, may not be released externally


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to others who are not direct parties to the Land Exchange except via an appropriate request made

pursuant to the Freedom of Information Act ("FOIA"), in the absence of legislation specifically

directing that external release of the approved appraisal be made otherwise or via other means.

Defendants' counsel will work with the Forest Service to expedite to the extent practicable the

agency's response to any FOIA request seeking a copy of the approved appraisal in this regard.

       >A supplement extending through the date the Forest Service issues the Final Record of

Decision and Final Environmental Impact Statement on the Land Exchange, to be lodged within

45 days of that date.

       • The parties agree that each of them is entering into this stipulation for a stay of further

proceedings wholly volitionally in response to the inquiry of the Court and that the request does

not relate in any manner whatsoever to the merits of Plaintiffs' pending claim at issue in the

cross-motions for summary judgment or any of the relief that Plaintiff seek in this litigation, nor

shall the request be construed or considered as any indication of the relative strength or

weakness, or success, of any party's position on any of the issues involved in this action.

        Pursuant to the Court's request, the parties respectfully ask the Court to approve the

foregoing stipulation by signing on the signature block provided for that purpose below.



Jointly and respectfully submitted this 10th day of November 2016.

FOR PLAINTIFFS:                                       FOR DEFENDANTS:
Crag Law Center                                       Office of the United States Attorney


s/ Ralph 0. Bloemers                                   s/ Stephen J. Odell
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Clackamas County Counsel


s/ Stephen L. Madkour
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For Plaintiff Clackamas County


Hood River County Counsel


s/ Wilford K. Carey
Judge Wilford K. Carey, OSB# 720477
For Plaintiff Hood River County


McEwen Gisvold LLP


s/ Jonathan M. Radmacher
Jonathan M. Radmacher, OSB# 924314
For Plaintiff Mt. Hood Meadows Oregon, LLC



       After having reviewed the foregoing stipulation of the parties to stay further proceedings,

1 hereby APPROVE the Stipulation & ORDER that further proceedings in this action are stayed

as of this date consistent with the Stipulation's terms .

               . ~_IL
DATED this i.:::_ day of December 2016.




                                                THE HONORABLE ANNA J. BROWN
                                                United States District Judge




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